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 6                                UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                         )
                                                     )
 9                        Plaintiff,                 )
                                                     )
10          v.                                       ) 2:13-CR-355-GMN-(CWH)
                                                     )
11 CHRISTINE M. GAGNON,                              )
   a.k.a Lisa Foster,                                )
12 a.k.a Crystal Waters,                             )
                                                     )
13                        Defendant.                 )
14                                      ORDER OF FORFEITURE

15           This Court finds that on November 17, 2014, defendant CHRISTINE M. GAGNON, a.k.a.

16 Lisa Foster, a.k.a. Crystal Waters, pled guilty to Count One of a Thirty-Two Count Criminal

17 Indictment charging her with Conspiracy to Commit Wire Fraud in Connection with Telemarketing in

18 violation of Title 18, United States Code, Sections 1343 and 1349. Indictment, ECF No. 1; Change of

   Plea, ECF
19 Plea, ECF No.
             No. __;
                 147;Plea
                      PleaAgreement,
                           Agreement,ECF
                                      ECFNo.
                                          No.__.
                                              148.
20           This Court finds defendant CHRISTINE M. GAGNON, a.k.a. Lisa Foster, a.k.a. Crystal

21 Waters, agreed to the forfeiture of the in personam criminal forfeiture money judgment of $5,261,218

22 in United States Currency set forth in the Plea Agreement and the Forfeiture Allegations in the
                                               Plea,Agreement,
23 Criminal Indictment. Indictment, ECF No. 1; Plea  ECF No. 147;
                                                               ECFPlea
                                                                    No.Agreement,
                                                                        __; ChangeECF  No. ECF
                                                                                   of Plea, 148. No.

24 __.

25          This Court finds that CHRISTINE M. GAGNON, a.k.a. Lisa Foster, a.k.a. Crystal Waters,

26 shall pay a criminal forfeiture money judgment of $5,261,218 in United States Currency to the United
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 1 States of America, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States Code,

 2 Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United States Code,

 3 Section 982(a)(8)(B); and Title 21, United States Code, Section 853(p).

 4          THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United

 5 States recover from CHRISTINE M. GAGNON, a.k.a. Lisa Foster, a.k.a. Crystal Waters, a criminal

 6 forfeiture money judgment in the amount of $5,261,218 in United States Currency.

 7          DATEDthis
            DATED this___
                       17th
                          dayday of November,
                              of November,    2014.
                                           2014.

 8

 9                                                         ________________________________
                                                           Gloria M. Navarro, Chief Judge
10                                                         United States District Court
                                                 UNITED STATES DISTRICT JUDGE
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